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                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA                     2-716
                                                                                  1D   71
                                                                                            P; 3: 58
                             SAVANNAH DIVISION
                                                                  C.'..
UNITED STATES OF AMERICA                 )

V   .                                           CASE NO. CR408-315-12

PERCELL ELLISON, JR.,

           Defendant.


                                   ORDER

           Before the Court is Defendant Percell Ellison, Jr.'s

Motion for Early Termination of Supervised Release. (Doc.

1579.) After careful consideration of the record in this

case,. the Court "is satisfied that [termination] is

warranted by the conduct of the defendant released and the

interest of justice." 18 U.S.C. S 3583(e) (1). As a result,

Defendant's motion is GRANTED and his term of supervised

release is terminated.

           SO ORDERED this 2.7cia y of September 2016.



                                        WILLIAM T. MOORE, JR.
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
